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FILED

RORY L. PERRY Il, CLES
UNITED STATES DISTRICT COURT FOR THE Southess Disines ot Won Vine
SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

UNITED STATES OF AMERICA

Vv. CRIMINAL NO. ZL. 2U4-cr-L3

18 U.S.C. § 1519

JOHN H. WELLFORD III

INFORMATION
The United States Attorney charges:

On or about April 26, 2019, at or near Charleston,
Kanawha County, West Virginia, and within the Southern District of
West Virginia, defendant JOHN H. WELLFORD III did with the intent
to impede, obstruct, and influence the proper administration of a
case filed under Title 11 of the United States Code, that is, the
case of In re Corotoman, Inc., Case No. 2:19-bk-20134, in the
United States Bankruptcy Court for the Southern District of West
Virginia, did knowingly conceal, cover up, falsify and make a false
entry in a document or record, to-wit:

In answer to Item 13 of debtor Corotoman, Inc.’s Official
Form 207, Statement of Financial Affairs for Non-Individuals
Filing for Bankruptcy, which required defendant JOHN H. WELLFORD

III to state all transfers of money outside the ordinary course of

business within the two years prior to filing, defendant JOHN H.
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WELLFORD III knowingly made a false entry that there were “None,”
when in fact, as defendant JOHN H. WELLFORD III well knew,
Corotoman had transferred, outside the ordinary course of

business, $925,326.43 to Marsh Fork Development on or about May 2,

2018.

In violation of Title 18, United States Code, Section 1519.

WILLIAM S. THOMPSON
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a Ally Melon.

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